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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

KERRY HINES, individually and on                 Case No. 2:22-cv-02241-ES-JBC
behalf of all others similarly situated,
                                                 NOTICE OF VOLUNTARY
                                                 DISMISSAL WITHOUT
                    Plaintiff,                   PREJUDICE BY PLAINTIFF

      v.

FASHION NOVA, LLC,


                    Defendant.

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Kerry

Hines hereby dismisses without prejudice all claims against Defendant Fashion

Nova, LLC.

Dated: June 16, 2022                       Respectfully submitted,

                                           BURSOR & FISHER, P.A.

SO ORDERED.                                By: /s/ Philip L. Fraietta
                                                   Philip L. Fraeitta

________________________                   Philip L. Fraietta
Hon. Esther Salas, U.S.D.J.                888 Seventh Avenue
Date: June 17, 2022                        New York, NY 10019
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                                           Facsimile: (212) 989-9163
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                                           Attorney for Plaintiff
